      Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 1 of 19



 1    Kathleen L. Wieneke, Bar #011139
      Christina Retts, Bar #023798
 2    Brendan F. Porter, Bar #034781
      WIENEKE LAW GROUP, PLC
 3    1225 West Washington Street, Suite 313
      Tempe, Arizona 85281
 4    Telephone: (602) 715-1868
      Fax: (602) 455-1109
 5    Email: kwieneke@wienekelawgroup.com
      Email: cretts@wienekelawgroup.com
 6    Email: bporter@wienekelawgroup.com
 7    Attorneys for Defendant Bertz
 8                            UNITED STATES DISTRICT COURT
 9                                      DISTRICT OF ARIZONA
10    Roland G. Harris, Jessica Perez; and Rodasia       NO. 2:20-cv-00078-DLR
      White, as Mother and Next Friend of A.H. and
11    J.H, the minor children of victim, as             DEFENDANT BERTZ’S MOTION
      beneficiaries for the wrongful death in and       FOR SUMMARY JUDGMENT
12    violation of civil rights of Jacob Michael
      Harris,
13
                          Plaintiffs,
14
                    v.
15
      City of Phoenix, Kristopher and Jane Doe
16    Bertz, David and Jane Doe Norman, John and
      Jane Does 1-10, Entities 1-10,
17
                         Defendants.
18
19          Of the four individuals in a vehicle that fled from police after committing the latest
20   in a lengthy series of violent armed robberies and aggravated assaults, the decedent was the
21   only one who exited the vehicle. Of the four individuals who fled from police, the decedent
22   was the only one with a gun in his hand as he fled the scene. Of the four individuals who
23   fled from police, the decedent was the only one who ran in the direction of an occupied
24   convenience store. And of the four individuals who fled from police, the decedent was the
25   only person who was shot because of the choices that he made. Because Defendant Bertz’s
26   conduct was justified under Arizona law, Defendant hereby moves for summary judgment
27   pursuant to Rule 56 of the Federal Rules of Civil Procedure.
28
      Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 2 of 19



 1   I.     BACKGROUND.
 2          A.     The Crime Spree and Guilty Pleas
 3          The events in this case were the culmination of a weeks-long crime spree in which
 4   decedent—along with three other accomplices—committed over two dozen armed
 5   robberies, aggravated assaults, and kidnappings at fast-foot restaurants, Circle K stores, and
 6   Whataburger restaurants. See Maricopa County Superior Court, CR2019-101931; CR2019-
 7   007275. Jacob Harris previously worked at Whataburger and used that experience to gain
 8   inside information that he would use for criminal purposes—he would quit around the time
 9   the robberies began. (Ex. 1, PHX00688; Ex. 2, PHX009667 (jpg190, jpg 0381)). Harris and
10   his crew were termed the “Mass Bandits” by robbery detectives. (Ex. 3, PHX1929-1939).
11   When a search warrant of Harris’ apartment was executed following the shooting, 9mm
12   bullets, a Glock ammunition magazine, counterfeit money, clothing seen in prior robberies,
13   the spoils from prior robberies, and his journal documenting his plans for criminal
14   enterprises were discovered: “Ways of getting $$$: bank scam, rapping, pimping, robbing,
15   claims, selling drugs, selling cars, script scam, selling guns, uber, suing, CF’s.” (Ex. 4,
16   PHX—9667 (jpg0024, 0234, 0337, 338, 340-345, 397, 516, 526, 549, 574, 577, 585).
17          Jeremiah Triplett, Sara Busani, and J.R.—the three co-conspirator members of the
18   Mass Bandits—pled guilty to the armed robbery of the Whataburger on January 11, 2019,
19   as well as manslaughter for the shooting death of decedent (because Harris’ death occurred
20   during their flight from the Whataburger felonies). (Ex. 5, Plea Agreement of Triplett; Ex.
21   6, Plea Agreement of J.R.; Ex. 7, Plea Agreement of Busani). As part of their pleas, the
22   Mass Bandits admitted—under penalty of perjury—to a factual basis that asserted that
23   decedent was with them when they entered the Whataburger, had a handgun during the
24   robbery, forcibly took money from the employees, got back into the Honda Passport, and
25   drove for several minutes without stopping. (Ex. 5 at 7, 15-16; Ex. 6 at 8, 16-17; Ex. 7 at 9,
26   15-16). They also admitted that Phoenix Police officers forcibly used devices to stop the
27   Honda, while decedent exited the vehicle after the vehicle had been stopped by police. (Id.).
28   They avowed that “[b]ut for Defendant’s, Co-Defendants’, and [decedent’s] actions of
                                                    2
      Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 3 of 19



 1   forcibly taking money from [Whataburger employees], while armed with weapons, and
 2   driving away from the Whataburger together inside the Honda Passport, [decedent] would
 3   not have sustained gunshot wounds causing his death.” (Ex. 5 at 15-16; Ex. 6 at 16-17; Ex.
 4   7 at 9, 15-16).
 5          B.     The Whataburger Armed Robbery and Flight.
 6          The particular event that gives rise to the issues in this case was an aggravated
 7   assault, kidnapping, and armed robbery of a Whataburger restaurant on January 11, 2019.1
 8   On January 10, 2019, Officers Bertz and Norman, who were Special Assignments Unit
 9   Officers, were assigned to assist with the arrest that would occur if probable cause was
10   developed to arrest the Mass Bandits crew. (Ex. 8, Deposition of Officer Bertz, at 132:2-
11   14; 238:19-239:5). Officer Bertz knew the group of individuals at issue were suspected “to
12   be involved in upwards of 26 armed robberies over the past several weeks or months, to
13   include, I believe, convenience stores like Circle K types, I think a cell phone store, several
14   cell phone stores. And as I recall, one of the most recent robberies being investigated was
15   at a Whataburger where they had obtained a more substantial amount of money on that
16   robbery.” (Id. at 198:1-200:25).
17          The Mass Bandits had been under surveillance—both ground and aerial—for several
18   hours prior to the Whataburger robbery as they drove around in a Red Honda Passport. (Ex.
19   9, Air Unit CAD, at PHX001522; Ex. 10, Full CAD, PHX001428-1500, at 1486-1489; Ex.
20   8, at 197:6-9; 201:10-203:4). During that surveillance, the Mass Bandits were photographed
21   handling firearms—a silver Airsoft pistol and a black 9mm Taurus handgun—and casing
22   businesses. (Ex. 11, Surveillance Photographs, PHX00042, 46, 48, 50, 56, 59, 62, 63, 66).
23   Jacob Harris was photographed with the Taurus handgun in his waistband at one business.
24   (Id. at 10). After the shooting, that black 9mm Taurus handgun was recovered from the
25          1
             The armed robbery, aggravated assault, and kidnapping of employees at the
26   Whataburger by the Mass Bandits—that Phoenix Police Department officers witnessed—
     occurred beginning at approximately at 11:44 PM on January 10, 2019. (Ex. 9, Air Unit
27   CAD, PHX001525). As most of the events in this litigation occurred in the early morning
     hours of January 11, 2019, this Motion will refer to all events as having taken place on
28   January 11, 2019, for the sake of brevity.
                                                    3
      Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 4 of 19



 1   scene and DNA testing confirmed a match to Jacob Harris. (Ex. 12, Winter Deposition, at
 2   145:10-153:12 and referenced exhibits).
 3          Undercover officers on the ground videotaped the Whataburger armed robbery as it
 4   occurred. (Ex. 13, Police Surveillance Video, PHX00073). Officers visualizing the criminal
 5   actions of the decedent and his crew provided detailed information about what was
 6   occurring over the radio and the CAD. (Ex. 14, Transcript of Phoenix Police radio; Ex. 10,
 7   PHX001428-1500, at 1486-1489). As the crimes unfolded, it was reported over the radio
 8   that one of the suspects: “guy’s got a gun to the guy’s head. Brought him into the back
 9   room.” (Ex. 13, PHX00073 at 1:20-25; Ex. 14 at PHX001643). Officer Bertz received real-
10   time information over the radio about the suspects pointing guns at various individuals
11   inside the Whataburger—the drive-thru clerk, at an employee at a cash register, and
12   directing another employee towards the back office. (Ex. 8, at 204:8-207:11).
13          The air unit observed Jacob Harris and the Mass Bandits complete the Whataburger
14   armed robbery and enter the getaway vehicle driven by Sarah Busani, the fourth suspect, at
15   12:11 a.m. (Ex. 9, PHX001526; Ex. 10, at PHX001489-90; Ex. 8 at 207:12-16). The
16   getaway vehicle was observed by Officer Bertz and other officers traveling eastbound on
17   the Interstate 10 before transitioning to the northbound Loop 101. (Ex. 8 at 208:2-3). After
18   the vehicle left the freeway, Officer Bertz and Officer Norman began discussing the tactic
19   that the officers would use to attempt to stop the vehicle, while keeping the public safe at
20   the same time. (Id. at 208:14-17). The officers made the decision to deploy a “grappler;” a
21   non-lethal device that connects a fleeing vehicle to a police vehicle.2 The grappler was
22   chosen because it “eliminates the vehicle’s ability to then become a mechanism of harm”
23   by preventing the vehicle from suddenly fleeing, running a red light, or swerving erratically
24   at high speed. (Id. at 136:8-20). Officers were unable to deploy the grappler on the freeway
25   due to the speeds and concern for the extreme danger it would create for the public. (Id. at
26   293:16-294:24)
27
            2
28              See The Grappler, https://policebumper.com/ (last accessed Jan. 19, 2022).
                                                    4
      Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 5 of 19



 1          Eight minutes after the suspects fled from committing multiple felonies at the
 2   Whataburger, Officer Norman successfully deployed the grappler and brought the suspects’
 3   vehicle to a stop at 12:19 a.m. (Id. at 211:11-13; Ex. 10, at PHX001493; Ex. 15, Deposition
 4   of Officer Norman, 119:11-121:8). As the vehicle was stopping, Officer Bertz deployed
 5   what is known colloquially as a “flashbang” grenade. (Ex. 8 at 211:14-24; Ex. 15, at 91:13-
 6   17). The flashbang grenade is a non-lethal device the emits bright light and a loud noise.
 7   (Ex. 8 at 62:12-64:1). Officer Bertz deployed the flashbang as an “area denial” tactic; the
 8   psychological effect of deploying the flashbang was intended to keep all four suspects in
 9   the vehicle once it was stopped and deter them from exiting. (Id. at 64:1-11). Officer Bertz’
10   intent was to use the flash-bang as a de-escalation tool to “safely resolve this for everybody
11   involved, including the four that were inside the vehicle at the time,” but Harris chose not
12   to comply and fled from the vehicle. (Id. at 254:2-255:21).
13          After the grappler and flashbang was successfully deployed, three of the four
14   suspects did not exit the vehicle. The only person chose to flee was Jacob Harris.3 The first
15   thing Officer Bertz saw as the decedent exited the vehicle was a “semiautomatic firearm
16   being held in the right hand of the occupant seated or now exiting the backseat of that
17   vehicle.” (Id. at 212:7-11). Officer Norman also testified to seeing the decedent exit the
18   vehicle with a gun in his hand. (Ex. 15 at 91:15-17). Officer Bertz saw the firearm come[]out
19   of the vehicle and swing[] back towards my direction where I’m at, which is against off to
20   the south and west of where their final stop location was.” (Ex. 8 at 212:12-15).
21          Officer Bertz decided to shoot—firing seven shots two of which hit the decedent—
22   because he knew there was “a school to the north that at these hours, this time of night
23   shouldn’t be occupied, a small field to the south, but still a residential neighborhood nearly,
24
25
26          3
              Officer Bertz did not know that the person he shot was Jacob Harris until after the
27   shooting took place. (Id. at 213:6-10). Notably, Harris had changed clothing in the back of
     the Honda Passport—leaving his belt on the floor and changing into a different clothing—
28   further evidencing his intent to flee. (Ex. 16 at 519, 614, 668).
                                                    5
      Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 6 of 19



 1   as well as a Circle K just to […] the east of us.”4 (Id. at 212:16-23; Ex. 16, Phoenix Police
 2   Scene Photographs, PHX000339). He knew that the fleeing suspect had perpetrated
 3   multiple felonies during the Whataburger robbery and was one of the suspects being
 4   surveilled by the air and ground surveillance teams. (Ex. 8 at 213:11-19; 297:20-298:24).
 5   Officer Bertz saw the decedent run in the direction of a Circle K, and that “because it was
 6   obvious that it was open” with customers present, he believed that the decedent took actions
 7   that put those present at the Circle K “in imminent threat of deadly bodily harm”—including
 8   the risk that he may take a hostage, or engage in other criminal actions to effectuate his
 9   escape. (Id. at 214:3-14, 296:25-297:10). Officer Bertz reasonably feared for his own safety
10   because the decedent exited the vehicle with a handgun—choosing not only to flee on foot,
11   but to flee with a dangerous instrument. (Id). After the Whataburger robbery, Officer Bertz
12   did not believe that the suspects would peacefully go home and not commit other robberies.
13   (Id. at 299:7-11).
14          The CAD documents that the grappler was deployed at 12:19 AM, and that one
15   subject was reported down within the same minute. (Ex. 10, PHX001493). The aerial unit
16   also confirmed that something had been thrown by the decedent, and that the aerial officer
17   “believe[d] it’s a gun.” (Id). A nine millimeter handgun was photographed several feet away
18   from the vehicle in the direction decedent was feeling. (Ex. 16, at PHX000548-PHX000551.
19   696-707). The other three suspects—who chose to remain in the vehicle and not flee from
20   police—were taken into custody without incident. This was not the first time that Jacob
21   Harris had fled from a vehicle after being stopped by police following an armed robbery—
22   negating any claim that he fled by mistake, fear, that he lacked motive to flee, and instead
23   showing a plan to flee. (Ex. 17, Tempe Police Report, PHX8014-8019).5
24          4
               Plaintiff’s independent pathologist concluded that only one of the two bullets that
25   hit the decedent was fatal. The shot to his lower right side was not. (Ex. 21).
             5
               Information unknown to officers at the time of the use of force but nonetheless
26   corroborates the officers’ versions of events is relevant and admissible. See Boyd v. City &
     Cnty. of San Francisco, 576 F.3d 938, 944 (9th Cir. 2009) (mental health history of decedent
27   relevant to use of force inquiry); Alvarado v. Oakland Cnty., 809 F. Supp. 2d 689 (E.D. Mi.
     2011) (prior arrests admissible to prove attempt to escape arrest); Fed. R. Evid. 404(b)
28
                                                   6
      Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 7 of 19



 1          C.      FLIR Infrared Footage Captured from 11,000 Feet.
 2          The aircraft involved in the surveillance of the Mass Bandits was a fixed-wing
 3   aircraft that flies at approximately 10,000 to 12,000 feet. (Ex. 18, Bundy Deposition, at
 4   22:8-24, 51:2-13; 53:20-54:1). The aircraft followed the Honda Passport for multiple hours
 5   as it drove to various locations, was overhead when the armed robbery occurred, followed
 6   the vehicle as it fled from the scene, and was overhead when Harris fled from the vehicle—
 7   with Officer Bundy reporting information he saw over the radio. (Id. at 54:23-57:22; 82:8-
 8   86:25; 87:17-91:25). Shortly before, or directly after the shooting, Officer Bundy saw that
 9   “something was thrown by that subject.” (Id. at 58:8-19). Based upon what he observed,
10   Bundy believed that what was thrown was a gun and that it was in reach of the suspect when
11   he fell. Officer Bundy reported that information over the radio. (Id. at 82:8-86:25).
12          The camera that is used with the fixed-wing aircraft has an infrared sensor that is
13   “not actually a camera. It doesn’t have camera lenses, it’s not recording onto film or a
14   camera-type sensor. It’s picking up heat variations.” (Id. at 24:4-15). The footage does not
15   capture fine details and is not taken from the perspective of the involved officers, but it does
16   accurately capture time frames. (Ex. 19; Ex. 8, at 276:25-277:17). Less than three seconds
17   elapsed from the time that Jacob Harris fled from the vehicle and ran to the period when he
18   fell after being shot twice (Id.).
19          D.      Procedural Background.
20          Plaintiff initially filed suit in Maricopa County Superior Court against Defendant,
21   the City of Phoenix, and Officer Norman on December 13, 2019. (Doc. 1-3 at 2). Defendants
22   timely removed the action to this Court on January 13, 2020. (Doc. 1). Plaintiff filed his
23   Complaint (doc. 5) in this Court on January 16, 2020. The Complaint alleged a state law
24   wrongful death claim and Fourth, Eighth, and Fourteenth Amendment claims under 42
25   U.S.C. § 1983. (Id. at 4-5). Defendants served multiple written discovery requests, including
26   Rule 36 Requests for Admission.
27
     (evidence of other crimes admissible to prove “motive, opportunity, intent, preparation,
28   plan, knowledge, identity, absence of mistake, or lack of accident.).
                                                     7
      Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 8 of 19



 1          Plaintiff did not timely respond to the RFAs. Instead, Plaintiff—without leave of this
 2   Court—served late responses that contained numerous boilerplate and irrelevant objections.
 3   (Ex. 20, Defendant’s Requests for Admission and Plaintiff’s Responses). Boilerplate
 4   objections are not proper objections. See Liguria Foods, Inc. v. Griffith Labs., Inc., 320
 5   F.R.D. 168, 185-87 (N.D. Iowa 2017), quoting Walker v. Lakewood Condo. Owners Ass’n.,
 6   186 F.R.D. 584, 587 (C.D. Cal. 1999) (“Boilerplate, generalized objections are inadequate
 7   and tantamount to not making any objection at all.”). The RFAs are deemed admitted by
 8   operation of law. Fed. R. Civ. P. 36(a)(3). Alternatively, all of Plaintiff’s objections should
 9   be deemed waived for failure to timely object, and all factually and legally unsupported
10   objections should be stricken. “Once a matter has been deemed admitted under Rule 36,
11   even by default, the court may not consider evidence that is inconsistent with the
12   admission.” Am. Gen. Life & Accident Ins. Co. v. Findley, No. CV 12-01753 MMM
13   (PSWx), 2013 U.S. Dist. LEXIS 41644, at *6 (C.D. Cal. Mar. 15, 2013).
14          After extensive discovery, Defendants moved for judgment on the pleadings on May
15   7, 2021. (Doc. 50). Plaintiff sought to strike (doc. 51) the Motion for Judgment on the
16   Pleadings, which the Court denied on May 14, 2021. (Doc. 60). The Motion for Judgment
17   on the Pleadings was subsequently fully briefed (docs. 73, 77) and submitted to the Court.
18   On October 22, 2021, the Court granted Defendants’ Motion for Judgment on the Pleadings.
19   (Doc. 144). The Court concluded that the City of Phoenix could not be vicariously liable
20   for Defendant’s use of force as to Count One. (Id. at 2-3). The Court also held that Plaintiffs
21   lacked standing to bring a Section 1983 claim on behalf of the decedent under Arizona law.
22   (Id. at 4). Finally, the Court concluded that Plaintiffs should not be granted leave to amend
23   their Complaint. (Id. at 4-7). After resolution of the Motion for Judgment on the Pleadings,
24   the remaining claim in this case is a wrongful death claim against Officer Bertz for his
25   intentional use of physical force against decedent. (Id. at 7).6
26
            6
              Because all of Plaintiffs’ claims under 42 U.S.C. § 1983 were dismissed, Plaintiffs
27   no longer allege the deprivation of a constitutional right by Defendant and proceed on a
     state law claim only. Although not binding, federal cases are instructive for the resolution
28
                                                     8
      Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 9 of 19



 1   II.    PRINCIPLES OF LAW.
 2          Under Fed. R. Civ. P. 56(a), the court must determine whether there is a genuine
 3   issue of material fact and that the movant is entitled to judgment as a matter of law. In
 4   making this determination, the court resolves all inferences and views all facts in the light
 5   most favorable to the non-moving party. Nehad v Browder, 929 F.3d 1126, 1132 (9th Cir.
 6   2019). “When opposing parties tell two different stories, one of which is blatantly
 7   contradicted by the record, so that no reasonable jury could believe it, a court should not
 8   adopt that version of the facts for purposes of ruling on a motion for summary judgment.”
 9   Scott v. Harris, 550 U.S. 372, 380-81 (2007).
10          A.     Wrongful Death.
11          Wrongful death under Arizona law is a creation of statute, not common law. Walsh
12   v. Advanced Cardiac Specialists Chtd., 274 P.3d 645, 648 (Ariz. 2012); A.R.S. § 12-611.
13   Because Plaintiff’s remaining claim stems from the use of intentional physical force by
14   Defendant, Plaintiff’s claim is an assault and battery tort. See Vacaneri v. Ryles, No. CV-
15   13-02252-PHX-PGR, 2014 U.S. Dist. LEXIS 38468 at *5 (D. Ariz. Mar. 21, 2014).
16   Common law battery in Arizona is defined as “an intentional act by one person that results
17   in harmful or offensive contact with the person of another.” Rice v. Brakel, 310 P.3d 16, 19
18   (Ariz. Ct. App. 2013). However, under A.R.S. § 13-413, “[n]o person in this state shall be
19   subject to civil liability for engaging in conduct otherwise justified” pursuant to the
20   provisions of Arizona’s justification statutes.
21          B.     Justification.
22          A.R.S. § 13-409 governs the use of physical force by a law enforcement officer,
23   while A.R.S. § 13-410 governs the use of deadly physical force by a law enforcement
24
25
     of the state law claim. See Marquez v. City of Phoenix, 693 F.3d 1167, 1176 (9th Cir. 2013)
26   (affirming district court’s summary judgment against plaintiff’s state tort claims because
     they failed for the same reasons as the Fourth Amendment claim); Liberti v. City of
27   Scottsdale, No. CV-17-02813-PHX-DLR, 2018 U.S. Dist. LEXIS 154600 at *16 (D. Ariz.
     Sept. 10, 2018) (noting that the parties agreed that if the conduct was objectively reasonable
28   under Fourth Amendment law the wrongful death would also fail).
                                                       9
     Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 10 of 19



 1   officer. Section 13-410(C) states that the use of deadly force against another is justified
 2   under Section 13-409 if the officer “reasonably believes that it is necessary:”
 3          1. To defend himself or a third person from what the peace officer reasonably
            believes to be the use or imminent use of deadly physical force.
 4
            2. To effect an arrest or prevent the escape from custody of a person whom
 5          the peace officer reasonably believes:
 6          (a)    Has committed, attempted to commit, is committing or is attempting
                   to commit a felony involving the use or a threatened use of a deadly
 7                 weapon.
            (b)    Is attempting to escape by use of a deadly weapon.
 8
            (c)    Through past or present conduct of the person which is known by the
 9                 peace officer that the person is likely to endanger human life or inflict
                   serious bodily injury to another unless apprehended without delay.
10   A.R.S. § 13-410(C). See also Marquez v. City of Phoenix, 693 F.3d 1167, 1176 (9th Cir.
11   2012) (“The use of deadly force is permissible under Arizona law if an officer reasonably
12   believes it is necessary to effect an arrest or prevent the escape from custody of a person
13   whom the peace officer reasonably believes … is likely to endanger human life or inflict
14   serious bodily injury to another unless apprehended without delay.”) (internal quotations
15   omitted). If the officer’s use of force is justified under Section 13-409, the officer is immune
16   from civil liability under Arizona law. Ryan v. Napier, 425 P.3d 230, 239 (Ariz. 2018).
17          Additionally, an officer is presumed to be acting reasonably if the officer uses deadly
18   physical force against a plaintiff in a civil case to protect himself or “effect an arrest or
19   prevent or assist in preventing a plaintiff’s escape” when the plaintiff “is attempting to
20   commit, committing, or fleeing after having committed or attempted to commit a felony
21   criminal act.” A.R.S. § 12-716. See also Ryan, 425 P.3d at 237 (“[S]tatutory presumptions
22   are triggered when a law enforcement officer intentionally uses physical force to arrest or
23   capture a suspect and the suspect is injured. The officer is ‘presumed to [have been] acting
24   reasonably’ in using physical force.”).
25
26
27
28
                                                    10
     Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 11 of 19



 1   III.   ARGUMENT
 2          A.     Officer Bertz’ Actions Are Presumptively Reasonable.
 3          Under A.R.S. § 12-716(A)(1)(a)-(b), a police officer is presumed to be acting
 4   reasonably if the officer uses deadly physical force to “[p]rotect himself or another person
 5   against another person’s use or attempted use of physical force or deadly physical force,”
 6   or to “effect an arrest or prevent […] a plaintiff’s escape.” A court need only make such a
 7   finding by a preponderance of the evidence. A.R.S. § 12-716(A); See also Valdez v. City of
 8   Phoenix, No. CV-18-0921-PHX-DGC, 2019 U.S. Dist. LEXIS 182312 at *5-7 (D. Ariz.
 9   Oct. 21, 2019). There is no genuine issue of material fact that the presumption applies here.
10   The Complaint concedes that the decedent was attempting to escape from police. (Doc. 5 at
11   4) (describing the decedent as “running away” from police). Additionally, no reasonable
12   juror could conclude that Defendant and the other Phoenix Police Department officers were
13   not attempting to “effect an arrest” at the time the shooting took place; officers had just
14   observed the decedent and his accomplices (who pled guilty) commit an armed robbery,
15   aggravated assault, and kidnapping at the Whataburger. (Exs. 5 at 7-16, 6 at 8-17, 7 at 7-
16   16, 8 at 208:4-209:22, 9, 13, 14). The presumption of reasonableness under Section 12-
17   716(A) applies. See Ryan, 425 P.3d at 237 (“statutory presumptions are triggered when a
18   law enforcement officer intentionally uses physical force to arrest or capture a suspect and
19   the suspect is injured.”).
20          B.     Officer Bertz’s Use of Deadly Physical Force Was Justified.
21          Several Fourth Amendment cases are instructive to this Court’s analysis. First, in
22   Liberti, 2018 U.S. Dist. LEXIS 154600 at *14, a shooting was deemed reasonable where
23   the suspect “was armed with a dangerous weapon and, at the very least, trying to evade
24   arrest by fleeing into a crowded shopping center.” Second, in Ford v. Childres, 855 F.2d
25   1271, 1275 (7th Cir. 1988), an officer responded to a silent holdup alarm at a bank, observed
26   a masked individual standing in the bank with his arm extended toward people with their
27   arms raised. The officer later saw the suspect fleeing the bank with a bag, and the officer
28   yelled at the suspect to stop. When the verbal warnings went unanswered, the officer shot
                                                   11
     Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 12 of 19



 1   the suspect in the back even though he had never actually seen the suspect with a weapon.
 2   Id. at 1271. In finding that the officer’s actions were objectively reasonable, the court
 3   concluded that the “in view of the totality of the information Officer Childers possessed
 4   when he fired at Ford, we hold that a reasonable jury could only conclude that Officer
 5   Childers had probable cause to believe that Ford possessed a threat of serious physical harm
 6   to himself and/or to others.” Id. at 1276.
 7          Third, in Dudley v. Eden, 260 F.3d 722 (6th Cir. 2001), the plaintiff robbed a bank
 8   without displaying any weapons, but drove to a parking lot and waited for police. When the
 9   officers attempted to arrest him, the plaintiff fled in a vehicle, with police in pursuit. Upon
10   being cut off and stopped, the officer who cut him off shot the plaintiff. The Sixth Circuit
11   recognized that “given Dudley’s bank robbery, his refusal to comply with the commands of
12   armed [police officers], his attempt to evade arrest, and his reckless driving, it was
13   reasonable for Officer Eden to conclude that Dudley posed a serious threat to himself and
14   others.” Id. at 727.
15          Fourth, in Reese v. Anderson, 926 F.2d 494, 501 (5th Cir. 1991), the officer stopped
16   a car after a pursuit. He ordered those inside the car to raise their hands, but one suspect
17   reached below the officer’s sight line and was shot and killed. The Fifth Circuit rejected the
18   argument that there was not a reasonable perception of danger, holding that the officer could
19   reasonably have believed that the suspect retrieved a gun. Id. The Fifth Circuit further
20   determined that the absence of a gun was “irrelevant,” because what actually mattered was
21   whether an officer has a reasonable believe that a dangerous weapon is in the possession of
22   a suspect and that the suspect may use it. Id.
23          Fifth, in Smith v. Freland, 954 F.2d 343, 347-48 (6th Cir. 1992), the Sixth Circuit
24   found that an officer had reasonable justification to use deadly force on a suspect because
25   he believed that a failure to do so could have led to a chain of events that would have posed
26   a danger to others, even if the danger was not imminent or definite: “rather than confronting
27   the roadblock, he could have stopped his car and entered one of the neighboring houses,
28   hoping to take hostages.” Id.
                                                      12
     Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 13 of 19



 1          Sixth, in Corrales v. Impastato, 650 F. App’x 540 (9th Cir. May 27, 2016), the Ninth
 2   Circuit found that an undercover officer acted reasonably and did not violate the plaintiff’s
 3   Fourth Amendment rights when the evidence showed the unarmed plaintiff rushed toward
 4   the officer with his hand positioned in a way that made the officer believe that the plaintiff
 5   had a gun. Id. at 541-42. See also United States v. Martinez-Jimenez, 864 F.2d 664, 667-68
 6   (9th Cir. 1989) (“Appellant argues that we should put aside this testimony because it was
 7   based upon the witnesses’ mistaken assessment of the apparent threat. Appellant’s argument
 8   fails because, during a robbery, people confronted with what they believe is a deadly
 9   weapon cannot be expected to maintain a high level of critical perception.”); Hudspeth v.
10   City of Shreveport, 270 F. App’x 332, 337 (5th Cir. Mar. 19, 2008) (despite the plaintiff
11   being unarmed and shot in the back, the Fifth Circuit found the officers’ actions objectively
12   reasonable as a matter of law because, in part, the plaintiff “pointed his cell phone, as most
13   guns are held shortly before they are fired, at an Officer.”)
14                 1.     Officer Bertz Reasonably Believed the Use of Deadly Physical Force
                          by Decedent Was Imminent.
15          Here, as in Liberti, Ford, Dudley, Reese, Smith, and Corrales, Jacob Harris was a
16   dangerous fleeing felon whose actions were reasonably interpreted to represent a deadly
17   threat. In fact, Defendant could not find a case that involved an armed robbery crew who
18   had perpetrated numerous prior dangerous crimes, committed multiple felonies while
19   observed by officers, and then a suspect fled from police when stopped. Officer Bertz
20   testified that at the time the decedent exited the vehicle, he had a gun in his right hand held
21   close up against his right shoulder. (Ex. 8 at 268:10-22). As Harris exited, he was positioned
22   directly toward Officer Bertz and presented an immediate threat: “when that back rear
23   passenger door opens, the first thing that presents itself from that door is a semiautomatic
24   firearm being held in the right hand of the occupant seated or now exiting the backseat of
25   that vehicle. That firearm comes out of the vehicle and swings back towards my direction
26   where I’m at, which is again off to the south and west of whether their final stop location
27   was.” (Id. at 212:7-215:15, 259:9-264:17, 281:18-283:2). As Harris continued to flee, his
28
                                                    13
     Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 14 of 19



 1   head turned back to look at the Officer Bertz as he began to run. (Id. at 213:20-21.). Harris
 2   other arm continued running in a swinging motion, but his right arm with the firearm did
 3   not and was high and up by his right side with a bent elbow. (Id. at 264:6-17; 266:5-268:22).
 4   Officer Bertz believed that decedent intended to shoot at him and the other police officers
 5   attempting to stop the vehicle while running towards a nearby Circle K. (Id. at 212:16-23;
 6   214:3-14) 7 Officer Norman testified in his deposition to seeing the same actions from
 7   decedent in the moments before shots were fired. (Ex. 15 at 92:3-14). Officer Bertz was
 8   closer to the suspect, and Officer Norman explained that “when that suspect pops out with
 9   a gun in hand, I recognize that—that he definitely has an advantage over Officer Bertz.
10   Flash-bang goes off, and the suspect begins to run. I see the suspect look back, kind of
11   quartering, at Officer Bertz, and then maybe a step later looks back again. Gun is still in
12   hand. I feel that he is now about to target Officer Bertz, who he is still pretty close to, and I
13   begin to fire my pistol, which at the same time I recognize Officer Bertz is firing his weapon
14   system as well.” (Id.).
15          Plaintiff in the Complaint contends that the video “clearly shows” that the decedent
16   did not turn to his right or make a threatening gesture with the handgun at Officer Bertz.
17   (Doc. 5 at 4). This argument overstates both what Officer Bertz maintains transpired and
18   what the video captures. The decedent turned his head and shoulder to the right, which is
19   consistent with Officer Bertz’ statement that he saw decedent “slightly turn back and look
20   in our direction.” (Ex. 8 at 261:8-11). Officer Bertz does not contend that the decedent
21   turned his entire body towards him, and the law does not require as much for the decedent
22   to constitute a reasonable deadly threat. McLaughlin v. United States, 476 U.S. 16, 17
23   (1986) (“the display of a gun instills fear in the average citizen; as a consequence, it creates
24   an immediate danger that a violent response will ensue.”) See also George, 736 F.3d at 838.
25          7
              However, an officer does not have to wait for a suspect to physically turn towards
26   him or fire his gun before using deadly force. George v. Morris, 736 F.3d 829, 838 (9th Cir.
     2013) (“This is not to say that the Fourth Amendment always requires officers to delay their
27   fire until a suspect turns his weapon on them. If the person is armed — or reasonably
     suspected of being armed — a furtive movement, harrowing gesture, or serious verbal threat
28   might create an immediate threat.”)
                                                     14
     Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 15 of 19



 1          Additionally, Officer Bertz testified that the handgun was close against the
 2   decedent’s body at this point in time, and that the decedent brandished it towards Defendant
 3   and the other police officers as if intending to shoot across his body at the officers. (Id. at
 4   264:6-17; 268:10-22). The Air Unit FLIR video is of little value because the decedent
 5   appears generally as a white blur and his hands are not clearly distinct, but as the decedent
 6   falls the handgun can be seen flying from his hand. It is not “clear” from the footage that
 7   the decedent made no “gesture” towards Officer Bertz as Plaintiff contends. In any event,
 8   the relevant question is whether it would be reasonable for Defendant to believe the use of
 9   deadly physical force was imminent—the answer is yes. Elliott v. Leavitt, 99 F.3d 640, 643
10   (4th Cir. 1996) (“The Fourth Amendment does not require police officers to wait until a
11   suspect shoots to confirm that a serious threat of harm exists.”);
12          In addition, Officer Bertz is presumed to have acted reasonably under A.R.S. § 12-
13   716 when using deadly physical force to “effect an arrest” or in “preventing a plaintiff’s
14   escape.” There is no evidence to rebut this presumption.
15                 2.     Officer Bertz Reasonably Believed Decedent Had Committed a Felony
                          Involving the Use of a Deadly Weapon
16          Regardless of whether the decedent was armed as he fled, Officer Bertz’ use of
17   deadly physical force was justified under Section 13-410(C)(2) because Officer Bertz
18   reasonably believed that the decedent had committed multiple felonies involving the use of
19   a deadly weapon. See A.R.S. §§ 13-1203 & 13-2014 (aggravated assault); A.R.S. §§ 13-
20   1902 & 1904 (armed robbery); A.R.S. § 13-1304 (kidnapping-restraining another person
21   with intent to otherwise aid in the commission of a felony). Officer Bertz was part of a
22   surveillance team that observed decedent commit an armed robbery, aggravated assault, and
23   kidnapping at a Whataburger with three co-conspirators. He knew that prior to these crimes,
24   the Mass Bandits were believed to be involved with more than two dozen prior similar
25   crimes. Officers observed these felons use handguns in the course of the robbery—pointing
26   them at various Whataburger employees to facilitate stealing money. (Ex. 13; Ex. 14, at
27   PHX001643). Officers observed decedent leave the Whataburger in the same vehicle as the
28
                                                    15
     Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 16 of 19



 1   other accomplices. (Ex. 14 at PHX001644). All of this information was broadcast to all
 2   officers over the radio, including Officer Bertz—who heard these statements. (Ex. 8 at
 3   206:7-207:16). Officer Norman testified to hearing the statements over the radio as well.
 4   (Ex. 15 at 86:18-87:8). Additionally, decedent’s accomplices admitted under penalty of
 5   perjury that decedent entered the Whataburger while armed with a handgun and forcibly
 6   took money while armed with a handgun. (Exs. 5-7). There is no genuine issue of material
 7   fact that Defendant reasonably believed decedent had committed multiple felony involving
 8   the use of a deadly weapon prior to fleeing from the scene.
 9          Defendant anticipates that Plaintiff will argue decedent’s ongoing flight from law
10   enforcement acts as an intervening event that renders Section 13-410(C)(2) inapplicable. In
11   other words, Plaintiff will likely argue that the time that elapsed form the time that the
12   vehicle fled from the Whataburger to the time that it was stopped, was of sufficient duration
13   that the decedent cannot be considered to be fleeing from the scene of the crime. This
14   interpretation of the statute should be rejected if offered; Section 13-410(C)(1) contemplates
15   an officer’s ability to use force against the “use or imminent use of deadly physical force.”
16   No such temporal language is included in Section 13-410(C)(2). If the Arizona legislature
17   intended to limit Section 13-410(C)(2) to only imminent or recently committed felonies
18   involving the use of a deadly weapon, it could have said so. State v. Harm, 340 P.3d 1110,
19   1115 (Ariz. Ct. App. 2015) (“[W]hen the legislature chooses different words within a
20   statutory scheme, we presume those distinctions are meaningful and evidence an intent to
21   give a different meaning and consequence to the alternate language.”).       Moreover, only
22   eight minutes elapsed between when the decedent fled the Whataburger after robbing it and
23   when the Honda Passport was stopped by police. (Ex. 9, PHX001526). It would be absurd,
24   given there is no temporal or spatial limitation on Section 13-410(C)(2), to conclude that
25   less than ten minutes is all that would need to elapse for a person to have no longer
26   “committed a felony involving the use of a deadly weapon.”
27          Additionally, the Mass Bandits were not immediately taken into custody, in part, to
28   reduce the risk that deadly force would be necessary to secure the individuals’ arrests. (Ex.
                                                   16
     Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 17 of 19



 1   15, at 119:11-121:8). In general, right after the commission of a felony such as an armed
 2   robbery, a criminal suspect’s adrenaline is running high putting them on “high alert” for
 3   law enforcement and more likely to respond violently to an attempt by law enforcement to
 4   make an arrest. (Ex. 8 at 115:18-116:13). In addition, the officers lacked any practical
 5   opportunity to stop the vehicle earlier because it was already in motion as the suspects exited
 6   the Whataburger. (Id. at 207:17-21). It would be contrary to the purposes of the justification
 7   statute if an officer was penalized for taking a course of action that reduces the risk of a
 8   violent confrontation between a criminal suspect and law enforcement.
 9                 3.      Officer Bertz Reasonably Believed Decedent Was Attempting to
                           Escape by Use of a Deadly Weapon
10          Officer Bertz believed the decedent was attempting to escape to a nearby Circle K
11   after exiting the vehicle, either in an attempt to secure an alternative means of transportation
12   or to potentially take one or more hostages. (Id. at 228:12-21). Defendant’s testimony is
13   corroborated by the fact that radio callouts indicate that the Circle K was in the “line of fire”
14   of officers, meaning that the decedent was heading away from officers in the direction of
15   the Circle K at the time Defendant shot decedent. (Ex. 14, PHX001647). Additionally,
16   Defendant was aware that the decedent had a firearm in his possession from the earlier
17   robbery, and testified at his deposition that he saw decedent with the firearm in his hand as
18   he was fleeing from the vehicle. (Ex. 8 at 259:9-11). Importantly, Defendant testified that
19   he saw the decedent turn his shoulder towards him, as though the decedent was preparing
20   to fire at officers while running towards the Circle K. (Id. at 268:10-22).
21                 4.      Officer Bertz as Attempting to Effect an Arrest and Prevent the Escape
                           of a Person Known to be Likely to Endanger Human Life or Inflict
22                         Serious Bodily Injury.
23          A.R.S. § 13-410(C)(2)(c) also applies to render justified Officer Bertz’ actions as
24   Officer Bertz was trying to make an arrest and also prevent the escape of a person known
25   to be likely to endanger human life or inflict serious bodily injury to another unless
26   apprehended without delay. Officer Bertz knew that the decedent had committed upwards
27   of two dozen armed robberies and aggravated assaults, that the Mass Bandits usually
28   committed multiple crimes per night, and that the decedent fled from the vehicle when it
                                                     17
     Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 18 of 19



 1   was stopped by police. Officer Bertz had likewise heard over the radio that members of the
 2   Mass Bandits had pointed firearms at Whataburger employees and he was concerned that
 3   the decedent might run to the Circle K and take a hostage, or commit a car-jacking. (Ex. 8
 4   at 198:1-200:25, 214:3-14, 296:25-297:10).
 5   IV.    CONCLUSION.
 6          Officer Bertz’s conduct on January 11, 2019 was justified under three independently
 7   sufficient provisions of Arizona law. There is no genuine issue of material fact Officer Bertz
 8   reasonably believed that use of deadly physical force by decedent was imminent, that the
 9   decedent had recently committed a felony involving the use of a deadly weapon, and that
10   the decedent was attempting to escape police by use of a deadly weapon. Any one of those
11   circumstances establishes that, as a matter of law, Officer Bertz’s conduct was justified.
12   Summary judgment in Defendant’s favor is warranted.
13
            DATED this 20th day of January 2022.
14
15                                              WIENEKE LAW GROUP, PLC
16                                      By:     /s/ Christina Retts
17                                              Kathleen L. Wieneke
                                                Christina Retts
18                                              Brendan F. Porter
                                                1225 West Washington Street, Suite 313
19
                                                Tempe, Arizona 85281
20                                              Attorneys for Defendant Bertz
21
22
23
24
25
26
27
28
                                                   18
     Case 2:20-cv-00078-DLR Document 162 Filed 01/20/22 Page 19 of 19



 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on January 20, 2022, I electronically transmitted the attached
 3   document to the Clerk's Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the following CM/ECF registrants:
 5
                  Stephen D. Benedetto
 6                William H. Knight
 7                Heather Hamel
                  The People’s Law Firm, PLC
 8                645 North 4th Avenue, Suite A
                  Phoenix, Arizona 85003
 9
                  Attorney for Plaintiffs
10         I hereby certify that on this same date, I served the attached document by U.S. Mail,
11   postage prepaid, on the following, who is a registered participant of the CM/ECF System:
12
                  N/A
13
                                       By:    /s/ Mica Mahler
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                  19
